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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  EMERGENCY PHYSICIANS OF ST.
  CLARE’S, LLC, MERCER BUCKS                      Civil Action No.
  ORTHOPEDICS, PC, and PASCACK                    09-cv-6244-WJM-MF
  EMERGENCY SERVICES,
                                                  Motion Day: April 5, 2010
  On behalf of themselves and all others
  similarly situated,                             [Filed Electronically]

  Plaintiffs,

         v.

  PROASSURANCE CORPORATION,                 HEARING REQUESTED
  PROASSURANCE CASUALTY
  COMPANY, and PROASSURANCE
  INDEMNITY COMPANY, INC.,

  Defendants.


  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
  ARBITRATION OR, IN THE ALTERNATIVE DISMISS THE COMPLAIN

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     I.    FACTUAL BACKGROUND

           This is a class action filed by three medical groups, on behalf of

     themselves and others similarly situated, against medical malpractice

     insurers for overcharging insured entities that purchased Extended Reporting

     Period Endorsements (“ERPs”) to insurance policies, also known as “tail

     coverage.” Essentially, the ERP is an endorsement that attaches to the

     policy and extends the reporting time period for coverage of claims of

     alleged medical negligence that occurred during the policy coverage period.

           The named Plaintiffs, Emergency Physicians of St. Clare’s LLC, (“St.

     Clare’s”), Mercer Bucks Orthopedics, PC, (“Mercer Bucks”), and Pascack

     Emergency Services, (“Pascack”), are New Jersey medical practice groups

     that purchased “claims-made” medical malpractice insurance policies. 1

     Complaint ¶¶ 12-14. Defendant ProAssurance Corporation (“ProAssurance

     Corporation”), is an insurance holding company that operates through six

     consolidated    subsidiaries/operating       companies,   including    Defendant

     ProAssurance Casualty Company, (“ProAssurance Casualty”), a subsidiary

     of ProAssurance Corporation, which in 2008 accounted for 28% of

     ProAssurance’s gross written premium, Complaint ¶¶ 15, 17, and Defendant

     ProAssurance     Indemnity     Company,       (“ProAssurance     Indemnity”),    a
     1
       A “claims-made” insurance policy is one that pays claims presented to the insurer
     during the term of the policy.


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     subsidiary of ProAssurance Corporation, which in 2008 accounted for 55%

     of ProAssurance’s written premium.         Plaintiffs purchased their medical

     malpractice insurance and ERPs directly from ProAssurance Casualty.

     Complaint ¶¶ 26, 34, 42.

           Plaintiffs allege that Defendant ProAssurance Corporation “uniformly

     directs ProAssurance Casualty and ProAssurance Indemnity, and uniformly

     applies the same polices with respect to ProAssurance Casualty and

     ProAssurance Indemnity.” Complaint ¶ 18. Plaintiffs further allege that all

     of the defendants have the same chairman, W. Stencil Starnes, and that the

     officers and directors or trustees of ProAssurance Casualty and

     ProAssurance Indemnity are substantially identical. Id.

           The core complaint is that Plaintiffs’ policies included language

     (various) providing that they had a right to purchase an ERP at rates in effect

     on the date of termination of their policies or rates in effect for the year in

     which they purchased their policies, but that instead of charging those rates,

     “for policies terminating in 2003, 2004, and 2005, defendants charged

     plaintiffs the rate applying to ERP endorsements attaching to policies written

     after plaintiffs’ policies terminated. That rate was substantially higher than

     the rate defendants had filed [with the State] that applied to plaintiffs’ ERP

     endorsements.” Complaint ¶¶ 4, 5 (emphasis added).



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           The two classes of persons Plaintiffs seek to represent are similarly

     situated former New Jersey policyholders of defendants whose policies

     terminated during 2003, 2004, and 2005, and all former policyholders of

     Defendants whose policies terminated during 2003, 2004, and 2005.

     Complaint ¶¶ 7, 20.

           Plaintiffs bring their claims under the New Jersey Consumer Fraud

     Act (“CFA”) (Count I), under common law for breach of contract (Count II),

     and for unjust enrichment (Count III). Plaintiffs seek judgment on their own

     behalf and on behalf of the two classes of similarly situated persons and

     request compensatory, punitive and/or treble damages, an accounting, costs

     and fees and other relief as deemed appropriate by this Court.

     II.   ARGUMENT

           A.    The Arbitration Agreement is Not Enforceable

                 1.     The Arbitration Agreement is an
                        Unconscionable Contract of Adhesion

           In New Jersey an insurance policy is considered a “contract of

     adhesion between parties who are not equally situated.”          President v.

     Jenkins, 853 A.2d 247, 254 (N.J. 2004) (quoting Doto v. Russo, 659 A.2d

     1371, 1376 (N.J. 1995) (quoting Meier v. New Jersey Life Ins. Co., 503 A.2d

     406 (N.J. 1985)). Such policies are often “prepared unilaterally by the

     insurer, and have always been subjected to careful judicial scrutiny to avoid

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     injury to the public.” Sparks v. St. Paul. Ins. Co., 495 A.2d 406, 412 (N.J.

     1985).

           The New Jersey Supreme Court has explained that an insurance

     company is an “expert in its field and its varied and complex instruments are

     prepared by it unilaterally whereas the insured or prospective insured is a

     layman unversed in insurance provisions and practices.”              Allen v.

     Metropolitan Life Ins. Co., 208 A.2d 638, 644 (N.J. 1965). “Moreover,

     policies are frequently not read by the insured, ‘whose understanding is

     often impeded by the complex terminology used in the standardized forms.’”

     President, 853 A.2d at 254 (citing Doto, 659 A.2d at 1376). Thus, when

     called on to interpret ambiguous insurance policies, courts “assume a

     particularly vigilant role in ensuring their conformity to public policy and

     principles of fairness.” Voorhees v. Preferred Mut. Ins., Co., 607 A.2d

     1255, 1260 (N.J. 1972). See President, 180 N.J. at 563 (explaining that

     courts should “interpret the contract to comport with the reasonable

     expectations of the insured”) (quoting Zacarias, v. Allstate, 775 A. 2d 1262,

     1264 (N.J. 2001)).

           New Jersey employs a four part analysis to determine whether

     contracts of adhesion are unconscionable. Rudbart v. New Jersey Dist.




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     Water Supply Comm., 605 A.2d 681, 687 (N.J. 1992). 2 Not only should the

     take-it-or-leave-it nature of the contract be examined, but the Court should

     also consider (1) the subject matter of the contract, (2) the parties’ relative

     bargaining positions, (3) the degree of economic compulsion motivating the

     “adhering” party, and (4) the public interests affected by the contract. Id.

     An analysis of the Rudbart factors warrants the determination that the

     arbitration provision is unconscionable and therefore unenforceable.

                           a.      Important Public Interests are Implicated
                                   in Medical Malpractice Insurance
                                   Agreements

            As a contract for medical malpractice insurance, the subject matter of

     the contract supports a determination that the arbitration agreement is

     unenforceable. Medical professionals face the risk of incurring large and

     potentially ruinous damage awards in malpractice actions in the absence of

     insurance. The ability to purchase such coverage at terms that fairly protect

     the legal rights of physicians and other medical professionals is important to

     ensuring the availability of quality medical services in the state. In addition,

     2
             The court in Rudbart determined that a contract to purchase a “project note” of a
     public corporation was enforceable because the notes were available on an open market,
     no investor was under economic pressure to buy a note in the subject project, and the
     notes were not consumer necessities because prospective investors could choose from a
     vast selection of alternative investments. Id. Consequently, the purchasers were not
     driven to make the purchase by a monopolistic market or any other economic constraints.
     Id. Accordingly, due to the lack of disparity in bargaining positions, even though the
     contract was considered to be one of adhesion, the principal justification for invalidating
     the terms of the contract were not present. Id. at 361.


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     New Jersey courts have explained that the important public policy behind

     the CFA, of which Plaintiffs allege a violation, is to “root out consumer

     fraud.” Rockel v. Cherry Hill Dodge, 847 A.2d 621, 623 (N.J. 2004). See

     also Barry v. Arrow Pontiac, Inc., 494 A.2d 804, 811 (N.J. 1985)

     (“The [***15] Act was passed in response to widespread complaints about

     selling practices that victimized consumers, and thus was designed to

     prevent deception, fraud, or falsity, whether by acts of commission or

     omission, in connection with the sale and advertisement of merchandise and

     real estate. The Act is remedial and has been liberally construed in favor of

     protecting consumers.”).     There are important public policy interests

     involved in remedying violations of the CFA, as well as the significant

     public interest in protecting and retaining physicians within New Jersey to

     serve the public. These interests weigh in favor of a determination that the

     mandatory arbitration clause of this contract of adhesion is unconscionable

     and unenforceable.

                          b.    The Parties had Unequal Bargaining Power

           Defendants are large, well-funded, multi-billion dollar asset based

     powerful insurance companies who presumably utilized knowledgeable and

     experienced attorneys that specialize in the field of insurance when the

     drafting of contracts at issue. Although Plaintiffs are physicians, they are


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     not sophisticated regarding complicated insurance policy language, policy-

     types, improper pricing policies, the CFA, or the legal rights Defendants

     hoped they would waive by signing the contract of adhesion currently at

     issue.     Rather, Plaintiffs were confronted with a termination of their

     malpractice coverage and had few alternatives other than to purchase tail

     coverage at the prices charged by Defendants.

                         c.    There was a Significant Degree of
                               Economic   Compulsion   Motivating
                               Plaintiffs

              The Plaintiffs are medical practice groups and were under extreme

     pressure to obtain insurance to avoid a gap in coverage. ProAssurance had a

     monopoly in selling tail coverage for its policies and the consequence of the

     policies being terminated or non- renewed was that these groups and

     physicians were faced with an imminent lapse in coverage and exposure to

     potentially ruinous malpractice suits and judgments.           This court has

     recognized the compulsion inherent in insurance agreements.          See, e.g.,

     Bueff Enterprises Florida, Inc. v. Villa Pizza, LLC, No. 07-1259, 2008 U.S.

     Dist. LEXIS 23957, *7-8 (D.N.J. March 24, 2008) (determining that

     plaintiffs did not waive their right to a jury trial even where they could have

     attempted to negotiate their franchise agreement because unlike insurance




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                , franchise agreements are not contracts of adhesion and plaintiffs

     were under no particular pressure to purchase the franchise at issue).

                  2.    The Arbitration Agreement is Not Enforceable
                        Because Plaintiffs Did Not Waive their Rights
                        to Pursue Statutory Rights in Court Before a
                        Jury

           The arbitration clause is not enforceable because it does not contain a

     clear and unmistakable waiver of Plaintiffs’ rights to pursue their statutory

     claims in court, nor a waiver of their rights to a jury trial. When viewed in

     the context of a contract of adhesion the balance of interests plainly falls in

     favor of the Plaintiffs and the arbitration clause should be found to be

     unenforceable.

                        a.     Given the Important Public Policy
                               Considerations   Involved  in   Cases
                               Alleging a Violation of the Consumer
                               Fraud Act, Courts Must Examine
                               Arbitration Agreements on a Case-by-
                               Case Basis

           When considering the enforceability of arbitration agreements in a

     case alleging a violation of the CFA, it is necessary to balance the important

     public policy behind the CFA to “root out consumer fraud” and the

     competing public policy favoring arbitration. Rockel v. Cherry Hill Dodge,

     847 A.2d 621, 623 (N.J. 2004) (“Such provisions may be enforced if they

     contain the appropriate attributes or disregarded if they do not.”) (quoting



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     Gras v. Associates FirstCapital Corp., 786 A.2d 886, 892 (N.J. 2001)).

     Because the public interests underlying these policies are “in or near

     equipoise,” New Jersey courts have determined that rather than applying a

     bright-line rule, courts must consider the enforceability of arbitration

     agreements on a case-by-case basis. Id. “The delicate balance between the

     policies of the CFA and the policy in favor of arbitration requires that the

     consumer be given reasonable notice of such provisions, that the provisions

     contain a clear waiver of statutory rights, and that the arbitration agreement

     be phrased in unambiguous terms.” Id. at 627.

                          b.    A Waiver of the Right to Pursue
                                Statutory Rights in Court Must be Clear
                                and Unambiguous

           The “[w]aiver of statutory rights provisions in arbitration agreements

     must be clear and explicit.”       Garfinkel v. Morristown Obstetrics and

     Gynecology Assoc., P.A., 773 A.2d 665, 670 (N.J. 2001) (additional citations

     omitted).     As the Appellate Division reiterated in Finestein v. BDS

     Remodeling Services, LLC¸ No. A.-2555-03T1, 2005 WL 704290 Unpub.

     (N.J. Super. App. Div. March 21, 2005):

                 “A contractual provision in which a consumer elects
                 arbitration as the exclusive remedy, however, must also
                 be read in light of its effect of the consumer’s right to
                 sue. A clause depriving a citizen of access to the court
                 should clearly state its purpose. The point is to assure
                 that the parties know that in electing arbitration as the

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               exclusive remedy, they are waiving their time-honored
               right to sue.”

     Id. at *2 (quoting Marchak v. Claridge Collins, Inc., 663 A.2d 531, 535

     (1993)).N.J. 1993)). To this end, the “waiver of statutory rights must be

     clearly and unmistakably established and contractual language alleged to

     constitute a waiver will not be read expansively.” Garfinkel, 773 A.2d at

     670. This is especially so in the context of a claim brought pursuant to the

     CFA given the important public policy considerations of that statute.

           In Rockel, the court determined that an agreement to arbitrate was not

     enforceable despite the existence of language apprising plaintiffs that: (1)

     they were waiving their “right to a trial by jury or a trial in court;” (2)

     discovery in arbitration “is generally more limited than in a lawsuit;” and (3)

     “[o]ther rights that each of us would have in court may not be available in

     arbitration.” Id. at 624, 626-27. The court explained that:

                   In Gras we also emphasized that the arbitration
               provision expressly stated that, by signing, the consumer
               was agreeing to arbitrate “any claim or dispute based on
               a federal or state statute.” The contract documents in
               question do not contain any similar language. The only
               statement which defendant has alluded to in attempting to
               meet this requirement - - the amorphous statement that
               “[o]ther rights that each of us would have in court may
               not be available in arbitration” - - falls woefully short of
               what Gras requires.

     Id. (emphasis in original) (internal citations omitted).


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            In Kuhn v. Terminex International, No. A-1518-07T3, 2008 Unpub.

     LEXIS 2005, *5-6 (N.J. Super. Ct. App. Div. May 9, 2008), the court

     concluded that the arbitration clause was unenforceable where it failed to

     inform plaintiffs they were waiving their right to pursue their statutory

     claims in court. Specifically, the Agreement provided:

               10. ARBITRATION. The Purchaser and Terminix agree
               that any controversy or claim between them arising out of
               or relating to the interpretation, performance or breach of
               any provision of this agreement shall be settled
               exclusively by arbitration. Such arbitration shall be
               conducted in accordance with the Commercial
               Arbitration Rules then in force of the American
               Arbitration Association. The arbitration award shall be
               final and binding on both parties. Judgment upon such
               arbitration award may be entered in any court having
               jurisdiction.

     Id. at 1. The court explained that “[a]lthough the clause may be reasonably

     construed as effecting a waiver of trial of contractual claims, it does not

     contain an explicit agreement to arbitrate nor waiver of trial of statutory

     claims such as those asserted by plaintiffs in this litigation.” See also, id. at

     *6 (determining arbitration clause was deficient where “its content does not

     inform the consumers they have waived their statutory rights or their right to

     a jury trial). 3 See also Mullin v. Automobile Protection Corp., No. 07-3327,


     3
            The court in Kuhn also noted that defendant did not provide the plaintiff
     consumers with reasonable notice of the arbitration clause because “it is one of twelve
     general conditions undistinguishable from all the other boiler-plate provisions.” Kuhn,


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     2008 U.S. Dist. LEXIS 87577, *12-15 (D.N.J. Sept. 29, 2008) (determining

     that based on the reasoning in Kuhn, plaintiffs did not waive their statutory

     rights under the CFA).

            In Garfinkel v. Morristown Obstetrics & Gynecology Assocs., P.A.,

     the court held that a contractual clause stating that “’any controversy or

     claim’ that arises from the agreement or its breach shall be settled by

     arbitration” did not require plaintiffs to arbitrate their claims because the

     clause failed to “mention, either expressly or by general reference, statutory

     claims redressable by [The Law Against Discrimination, N.J.S.A. 10:5-1 to -

     49].” 773 A.2d 665, 671 (N.J. 2001). Specifically, the court explained:

               The Court will not assume that employees intend to
               waive those rights unless their agreement so provides in
               unambiguous terms. That said, we do not suggest that a
               party need refer specifically to the [statute at issue] or list
               every imaginable statute by name to effectuate a knowing
               and voluntary waiver of rights. To pass muster, however,
               a waiver-of-rights provision should at least provide that
               the employee agrees to arbitrate all statutory claims
               arising out of the employment relationship or its
               termination. It should also reflect the employee’s general
               understanding of the type of claims included in the
               waiver, e.g., workplace discrimination claims.

     Id. at 672.



     2008 N.J. Super. Unpub. LEXIS 2005 at 6. Similar to the contract at issue in Kuhn, the
     one paragraph arbitration clause in Defendants’ contract is indistinguishable from the
     multiple pages of boilerplate provisions.


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                           c.     Defendants’     Arbitration  Agreement
                                  Significantly Skews the Balance Between
                                  the Public Policies

            Similar to the agreements at issue in Rockel, Kuhn, and Garfinkel, the

     arbitration agreement at issue here fails to “pass muster.” 4 The agreement

     here states that:

                Any dispute, claim or controversy arising out of,
                relating to or in connection with this policy, its subject
                matter or its negotiation, as to the existence, validity,
                interpretation,     performance,         non-performance,
                enforcement, operation, breach of contract, breach of
                warranty, continuance of termination thereof or any
                claim alleging fraud, deceit, or suppression of any
                material fact or breach of fiduciary duty shall be
                submitted to binding arbitration . . . .

     Declaration of Michael Dinger (“Dinger Declaration”), Exs. A, B & C ¶

     XIII. See Rockel, 847 A.2d at 626 (discussing language stating that “’any

     controversy or claim arising out of or relating to this Agreement’ shall be

     ‘settled by arbitration’” and determining that “this provision represents an


     4
             The arbitration agreement in this case is factually distinguishable from the ones
     courts have upheld as enforceable. For example, in Martindale v. Sandvik, 800 A.2d 872,
     883-84 (N.J. 2002), the court determined that the language in that agreement was a clear
     and unambiguous waiver of plaintiff’s statutory rights and that plaintiff agreed to waive
     her right to a jury trial. 800 A.2d 872, 883-84 (N.J. 2002). See id. at 875 (“I agree to
     waive my right to a jury trial in any action or proceeding related to my employment with
     Sandvik.”). Similarly, in Salvadori v. Option One Mortgage Corp., 420 F. Supp. 2d 349,
     352, 355 (D.N.J. 2006) the arbitration agreement explicitly stated that “both of us are
     waiving our rights to have disputes resolved in court by a judge or jury” and that the
     arbitration agreement applied to claims “includ[ing], but not limited to federal or state
     contract, tort, statutory, regulatory common law and equitable claims.” 420 F. Supp.2d
     349, 352, 355 (D.N.J. 2006).


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     insufficient foundation for an order compelling arbitration.”). Although the

     agreement lists the types of claims included in the waiver, it does not

     mention the CFA or any type of statutory rights. Dinger Declaration, Exs.

     A, B & C ¶ XIII.       Moreover, the agreement provides no explanation,

     discussion, or notice regarding the consequences of agreeing to arbitrate or

     what rights (such as the right to jury trial) are being waived. See Kamaratos

     v. North East General Contractors, 812 A.2d 531, 538 (Super. Ct. App. Div.

     2003) (reversing decision to uphold arbitration decision and noting that

     although the agreement referred to the arbitration statutes, “it did not clearly

     state the consequences of an agreement to arbitrate disputes over legal

     fees.”). As such, “the arbitration provisions at hand significantly skew the

     balance between the purposes of the CFA and the policy in favor of

     arbitration of disputes, thus requiring a rejection of defendant’s attempts to

     compel arbitration.” Rockel, 847 A.2d at 623.

                  3. The Cost Provisions of the Arbitration Agreement
                     are Unconscionable

           An arbitration agreement is unconscionable where the costs are so

     high as to prevent a party “from effectively vindicating her federal statutory

     rights in the arbitral forum.” Green Fin. Corp. v. Randolph, 531 U.S. 79, 90

     (2000). To meet this burden, plaintiffs must (1) come forward with some

     evidence to show the projected fees that would apply, and (2) show their

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     inability to pay those costs. Parilla v. IAP Worldwide Servs., 368 F.3d 269,

     283-85 (3d Cir. 2004).

            The arbitration agreement provides that arbitration will be conducted

     pursuant to the Commercial Arbitration Rules of the American Arbitration

     Association (“AAA”). Dinger Declaration, Exs. A, B & C ¶ XIII. Because

     Plaintiffs bring this case on behalf of similarly situated entities, AAA’s

     Supplementary Rules for Class Arbitration will also apply to the proceeding.

     http://www.adr.org/sp.asp?id=21936.            AAA’s Supplementary Rules for

     Class Arbitration require the party demanding arbitration to pay a

     preliminary filing fee of $3,350 which covers all AAA administrative fees

     up through the rendering of a Clause Construction Award. Id. at Rule 11(a).

     Subsequent to the Clause Construction Award, the requesting party is then

     required to pay a supplemental fee based on the amount of the claim at issue

     in the class action pursuant to the fee schedule set forth in AAA’s

     Commercial Arbitration Rules. Id. The Commercial Rules require for cases

     with claims between $5,000,000 and $10,000,000 an initial filing fee of

     $10,200 and a case service fee of $4,000. 5 Additionally, unlike a court

     proceeding, the parties are required to compensate the arbitrator at his or her

     professional rate and pay other costs such as travel, arbitrator expenses, and
     5
           A claimant is required to pay a filing fee of $10,000 in cases for an unspecified
     amount of monetary damages.


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     the cost of a AAA hearing room if requested. See Adamson v. Foulke Mgm’t

     Corp., No. 08-4819, 2009 U.S. Dist. LEXIS 118061, *17 (D.N.J. Dec. 18,

     2009) (discussing an affidavit from Gerald Strathmann, Vice-President of

     the AAA since January 2008, outlining the costs of an arbitration pursuant to

     AAA’s Commercial Rules). The average daily rate for an AAA Commercial

     Panel arbitrator in New Jersey is $1,684.16 and the costs range from $600 to

     $35,000. Id.

            Consequently, assuming fees and costs are split between the parties,

     Plaintiffs’ portion of the filing fees ($17,550), the median amount of costs

     ($17,200), and an arbitrator’s bill ($33,683.20 - assuming 20 days of work at

     $1,684.16 per day) could easily exceed $30,000. Indeed, the class action

     rules provide for the selection of a panel of three arbitrators and the

     Commercial Rules Procedures for Large Complex Commericial Disputes

     provide that unless the parties agree otherwise, AAA will utilize a three

     arbitrator        panel        when          claims        exceed          $1,000,000.

     http://www.adr.org/sp.asp?id=22440#A3 at L2. In that scenario, Plaintiffs’

     portion of the arbitrators’ bill alone could easily exceed $60,000. 6


     6
            If this case is sent to arbitration, Plaintiffs reserve the right to challenge the
     conscionability of the arbitration provision if an arbitrator determines that it does not
     provide for class arbitration. Muhammad v. County Bank of Rehoboth Beach, 912 A.2d
     88, 100 (N.J. Aug. 9, 2006) (holding that a class action waiver in a consumer arbitration
     agreement renders that agreement unconscionable).


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                   4.      The Federal Arbitration Act Requires that
                           Cases be Stayed Pending Arbitration

            Were this Court to grant Defendants’ motion to enforce the arbitration

     clause, the case should be stayed not dismissed. The Federal Arbitration Act

     requires that courts “shall on application of one of the parties stay the trial of

     the action until such arbitration has been had in accordance with the terms of

     the agreement . . . “ 9 U.S.C. § 3. The Third Circuit has held that the FAA’s

     stay provision is mandatory, and there is no discretion vested in the district

     courts to deny the stay. Lloyd v. Hovensa, LLC, 369 F.3d 263, 269 (3d Cir.

     2004). 7

            B.     Plaintiffs’ Claims Should Not Be Dismissed

                   1.      Legal Standard

            A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6)

     may be granted only if, accepting all well-pleaded allegations in the

     complaint as true and viewing them in the light most favorable to the

     plaintiff, a court finds that plaintiff has failed to set forth fair notice of what

     the claim is and the grounds upon which it rests. Bell Atlantic Corp. v.

     Twombly, 550 U.S. 544, 555 (2007) (citing Conley v. Gibson, 355 U.S. 41,

     47, (1957)). A complaint will survive a motion to dismiss if it contains

     7
           Staying the case will also protect the rights of the unnamed class members for
     whom the statute of limitations was tolled by the filing of this action. See American Pipe
     & Constr. Co. v. Utah, 414 U.S. 538, 550 (1974).


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     sufficient factual matter to “‘state a claim to relief that is plausible on its

     face.’” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Twombly,

     550 U.S. at 570).          Plaintiffs have sufficiently pleaded claims that are

     plausible on their face.

                    2.     Named Plaintiffs Have Standing To Bring These
                           Class Action Claims Against All Defendants
                           Under the Concerted Action and Juridical Link
                           Doctrines

            As a threshold matter, standing is a prerequisite for the maintenance

     of all actions, including class actions. Osgood v. Harrah’s Entm’t, Inc., 202

     F.R.D. 115, 120 (D.N.J. 2001) (citing Fallick v. Nationwide Mutual Ins. Co.,

     162 F.3d 410, 423 (6th Cir. 1998)); O’Shea v. Littleton, 414 U.S. 488, 494

     (1974). However, there is no additional standing requirement for a plaintiff

     who seeks to represent a class. 8 Osgood, 202 F.R.D. at 120-121 (citing

     O’Shea, 414 U.S. at 494). Once an individual has alleged a distinct and

     palpable injury to himself, he has standing to challenge a practice even if the


     8
       “Although it is the duty of the plaintiff to ‘clearly and specifically set forth facts
     sufficient to satisfy [the] standing requirements,’ the level of specificity necessary to
     avoid dismissal for lack of standing should not be ‘exaggerated.’” Clark v. McDonald’s
     Corp., 213 F.R.D. 198, 206 (D.N.J. 2003) (quoting Hosp. Council of W. Pa. v. City of
     Pittsburgh, 949 F.2d 83, 86-87, 88 (3d Cir. 1991)). At this stage of the litigation, “the
     court may ‘presume that the general allegations in the complaint [as to standing]
     encompass the specific facts necessary to support those allegations.’” Id. (quoting Steel
     Co. v. Citizens for Better Env’t, 523 U.S. 83, 102, 104 (1998)). When, as here, a
     challenge to standing is made on the basis of the pleadings, “the court must ‘accept as
     true all material allegations of the complaint, and . . . construe the complaint in favor of
     the complaining party.’” Id. (quoting Pennell v. City of San Jose, 485 U.S. 1, 7, (1988)).


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     injury is of a sort shared by a large class of possible litigants. Osgood, 202

     F.R.D. at 120-121, n.3 (quoting Fallick, 162 F.3d at 423). And once a

     plaintiff’s standing has been established, whether s/he will be able to

     represent the putative class, including absent class members, depends solely

     on whether s/he is able to meet the additional criteria encompassed in Rule

     23 of the Federal Rules of Civil Procedure. Osgood, 202 F.R.D. at 121

     (quoting Fallick, 162 F.3d at 423).

           Defendants apparently acknowledge that the named Plaintiffs have

     standing to sue ProAssurance Casualty Company.              Def. Br. at 15-17.

     Defendants argue, however, that the claims against ProAssurance

     Corporation and ProAssurance Indemnity should be dismissed because the

     named Plaintiffs lack standing to bring claims against those defendant

     entities. Specifically, Defendants argue that the named Plaintiffs did not

     contract with ProAssurance Corporation or ProAssurance Indemnity and

     thus there is no “causal connection” between the injuries alleged in the

     Complaint and the actions of these two Defendants.               Id. at 16-17.

     Defendants ignore the fact that this is a class action where the named

     Plaintiffs seek to represent a class of injured persons and have alleged that

     these three related Defendants acted in concert in their practice of

     overcharging physicians for ERPs. The class nature of the claim makes a



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     critical difference when considering Defendant’s argument.

            As explained below, Plaintiffs’ standing to represent absent class

     members against ProAssurance Corporation and ProAssurance Indemnity

     rests on the well established concerted action and juridical link doctrines as

     articulated in the leading case of La Mar v. H & B Novelty & Loan Co., 489

     F.2d 461 (9th Cir. 1973), and embraced by the Third Circuit in Haas v.

     Pittsburgh Nat’l Bank, 526 F.2d 1083 (3d Cir. 1975). In La Mar, plaintiff

     initiated an action for federal Truth-in-Lending violations against all

     pawnbrokers licensed by the State of Oregon even though plaintiff had only

     borrowed from one pawnbroker. The Court held that a plaintiff having a

     cause of action against a single defendant could not bring a class action

     against the single defendant and an unrelated group of defendants.9 Id. at

     462. However, the Court then laid out two critical exceptions to this rule:

                Obviously this position does not embrace situations in
                which all injuries are the result of a conspiracy or
                concerted schemes between the defendants at whose
                hands the class suffered injury. Nor is it intended to
                apply in instances in which all defendants are juridically
                related in a manner that suggests a single resolution of
                the dispute would be expeditious.


     9
       The court described its holding as follows: “The . . . issue [in these] cases is whether a
     plaintiff having a cause of action against a single defendant can institute a class action
     against the single defendant and an unrelated group of defendants who have engaged in
     conduct closely similar to that of the single defendant on behalf of all those injured by all
     the defendants sought to be included in the defendant class. We hold that he cannot.” La
     Mar, 489 F.2d at 462 (emphasis added).


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     Id. at 466 (emphasis added).

           The Third Circuit in Haas v. Pittsburgh Nat’l Bank, 526 F.2d 1083

     (3d Cir. 1975), approved the concerted action and juridical link concepts set

     forth in La Mar. In Haas, the district court had certified a plaintiff class in

     an action against multiple defendants, some of whom had never transacted

     business with the plaintiff, but who were all alleged to have acted in the

     same manner with respect to unnamed members of the plaintiff class. Haas

     v. Pittsburgh Nat’l Bank, 60 F.R.D. 604, 611-14 (W.D. Pa. 1973). After the

     Ninth Circuit issued its 1973 decision in La Mar, however, the district court

     reconsidered its class certification decision and concluded that class

     certification had been improper as against one of the defendants. Haas, 381

     F. Supp. 801, 807-808 (W.D. Pa. 1974).          On appeal, the Third Circuit

     concluded that one of the plaintiffs did not have standing against one of the

     defendants on one of the issues. 526 F.2d at 1087. However, the Third

     Circuit held that even though the plaintiff did not have standing against one

     of the defendants, summary judgment was inappropriate if the plaintiff could

     represent a class of plaintiffs who did have standing. Id. at 1087 (citing Rule

     23(a) of the Federal Rules of Civil Procedure).             The Third Circuit

     distinguished this scenario from La Mar (where the named plaintiffs could

     assert no cause of action against certain named defendants and, as a result,



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     those defendants were dismissed) and held that a plaintiff could assert a

     claim on behalf of a class against a particular defendant even though she

     lacked standing to assert that claim because she had standing to assert two

     other closely related direct claims against that defendant. Id. at 1089-90.

     The court also observed that in “situations in which all injuries are the result

     of a conspiracy or concerted schemes between the defendants at whose

     hands the class suffered injury” or in situations in which “all defendants are

     juridically related in a manner that suggests a single resolution of the

     dispute would be expeditious” a plaintiff with a claim against one defendant

     can represent a class of plaintiffs with claims against other defendants. 10 Id.

     at 1087 (citing La Mar, 489 F.2d at 466) (emphasis added). When the

     concerted action and juridical link doctrines of Haas and La Mar are applied

     to the case at bar, it compels the conclusion that Plaintiffs have standing to

     bring a class action suit against ProAssurance Corporation, ProAssurance

     Casualty and ProAssurance Indemnity.




     10
       See also Follette v. Vitanza, 658 F. Supp. 492, 507-08 (N.D.N.Y. 1987) (Examples of
     such [juridical] links include partnerships or joint enterprises, conspiracy, and aiding and
     abetting, since these terms denote some form of relationship or activity on the part of the
     members of the proposed defendant class that warrants imposition of joint liability
     against the group even though the plaintiff may have dealt primarily with a single
     member) (internal quotations and citations omitted)).


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                        a.     Defendants Engaged in a Concerted
                               Scheme to Wrongfully Overcharge Former
                               Policyholders for ERPs

           Plaintiffs allege that all three Defendants market and sell ERPs under

     the same company name: “ProAssurance,” that ProAssurance Corporation

     directs   ProAssurance    Casualty    and     ProAssurance     Indemnity,   that

     ProAssurance Casualty and ProAssurance Indemnity are ProAssurance

     Corporation’s two largest subsidiaries, and that ProAssurance Casualty and

     ProAssurance Indemnity apply a common policy with respect to ERP

     premiums as dictated by ProAssurance Corporation. Complaint ¶¶ 15-18.

     Thus, Plaintiffs have alleged a concerted scheme amongst juridically linked

     Defendants to overcharge policy holders for an ERP endorsement.

           This case is only in the initial stages and no discovery has been

     conducted. In Johnson v. Geico, 516 F. Supp 2d 351, 356 (D. Del. 2007)

     plaintiffs filed suit on behalf of themselves and all others similarly situated

     against GEICO Casualty Insurance Company, GEICO General Insurance

     Company, and GEICO Indemnity Insurance Company. Defendants moved

     to dismiss plaintiffs’ claims and argued that plaintiffs never purchased

     insurance coverage from either GEICO General or GEICO Casualty, and

     therefore, plaintiffs could not establish any compensable injury or damage.

     Id.   The court concluded that dismissal for lack of standing was not



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     warranted at the pleading stage. Id. (“[D]iscovery on the issue of standing

     is warranted before the court entertains the question of whether GEICO

     General and GEICO Casualty should be dismissed from this action.”).

     Accordingly, dismissal for lack of standing is not warranted at this stage of

     the case because discovery regarding the relationship between the

     Defendants as well as their concerted actions related to the scheme to

     overcharge former policy holders for ERP premiums is necessary.

                        b.     Defendants Are Juridically Linked in a
                               Manner That Suggests a Single
                               Resolution of the Dispute Would Be
                               Expeditious

           Juridical   links    exist   between      ProAssurance     Corporation,

     ProAssurance Casualty and ProAssurance Indemnity sufficient to establish

     the named Plaintiffs’ standing to represent a class of persons with claims

     against the three related Defendants.     ProAssurance Corporation operates

     and writes medical malpractice insurance through its six consolidated

     subsidiaries, including ProAssurance Casualty and ProAssurance Indemnity.

     All three companies share common management and ProAssurance

     Corporation and Subsidiaries, including ProAssurance Casualty and

     ProAssurance Indemnity, file consolidated financial statements and reports.

     Ex. A (Excerpts from 2008 ProAssurance Annual Report). Similarly, in Wu

     v. MAMSI Life & Insur. Co., 256 F.R.D. 158, 165 (D. Md. 2008), the court

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     considered whether the plaintiff, who filed a class action suit against her

     healthcare provider and its parent company, had standing to bring a claim

     against the parent company. The court held that the plaintiff “clearly” had a

     relationship with the parent company sufficient to establish standing because

     she was a member of the subsidiary, alleged a direct injury caused by the

     parent, and alleged that the parent company uniformly directed its network

     of providers to defraud its members. Id. at 167.

           The close relationship between the Defendant parties provides a sound

     basis supporting application of the juridical links doctrine and makes clear

     that it would be inappropriate to dismiss Plaintiffs’ claims at this stage of the

     litigation without allowing discovery.      See Marchwinski v. Oliver Tyrone

     Corp., 81 F.R.D. 487, 489 (W.D. Pa. 1979) (permitting discovery on the

     question of certification of defendant class action after finding it likely that

     the “juridical link” exception to Haas would be met).

           Plaintiffs’ claims for relief are plausible on their face, including the

     allegations regarding the close relationship between the Defendants and the

     concerted plan to overcharge medical professionals for ERP endorsements.

     However, if the Court should nonetheless conclude that Plaintiffs have failed

     to meet the Iqbal standard, Plaintiffs should be permitted to take limited

     discovery on this issue and should be granted leave to amend their complaint.



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     Modest discovery is likely to permit an amendment that would clearly

     satisfy any Iqbal concerns. Additionally, Defendants are the only parties

     who have access to much of the evidence and should not be granted a

     dismissal without being subjected to the crucible of discovery on these

     factual issues.

                  3.     Defendants’ Specific Requests for Dismissal of
                         the Claims of Each of the Named Plaintiffs
                         Based on Factual Assertions Are Inappropriate
                         for Resolution on a Motion to Dismiss Prior to
                         Discovery

                         a.    Plaintiff Emergency Physicians of St.
                               Clare Has Stated a Viable Claim

           Plaintiff St. Clare alleges that the premium for its ERP endorsement

     should have been based on Defendants’ 2004 rates, when the policy was

     written, but that ProAssurance charged St. Clare’s it higher 2005 rate for

     new business. Complaint ¶¶ 44-47.

           Defendants argue that there was no overcharge because their 2005 rate

     change did not “go into effect” until April 1, 2005, and that the effective rate

     was the same on December 31, 2004 and January 1, 2005. Def. Br. 14.

     Defendants support this argument with an April 20, 2005 letter from

     ProNational Insurance Company (the predecessor to ProAssurance

     Casualty), which on its face is irrelevant and should be ignored and excluded

     by the Court. That letter says nothing about the “rates” or effective dates for

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     “rates.” It states: “I submit for your review and approval the revisions to

     the rules in the underwriting manual for the captioned program.” Dinger

     Declaration, Ex. D. If the Court wishes to entertain a fact dispute at this

     juncture, then it should know that Plaintiffs contest Defendants’ statement of

     fact on this issue. Attached as Exhibit B is a print out from Best State Rate

     Filings, an insurance filing commercial database, which shows that the

     ProAssurance rate change was filed as effective January 1, 2005, not April

     2005 and that the April 1, 2005 filing related to “revised Rules,” not rates.

     Attached as Exhibit C is a November 17, 2004 letter from ProNational

     Insurance Company to the New Jersey Division of Insurance and portions of

     the attachments to the letter showing that the revised fee schedule was

     submitted in November 2004 and was to be effective January 1, 2005.

     Indeed, the bottom of each page of the attachment that specifies rates says

     “Effective January 1, 2005.” 11

            The April 20, 2005 letter, is outside of the pleadings, inappropriate for

     consideration on a motion to dismiss under FRCP 12(b), and should be

     excluded. See Fed. Civ. P. 12(d) (“If, on a motion under Rule 12(b)(6) or


     11
       It is also worth noting that a prior rate filing indicates that the ERP premium is to be
     calculated based on the premium charged for the policy being extended, not based on the
     premium for new business. See Ex. D, 2002 letter from ProNational Insurance Company
     to the New Jersey Department of Banking and Insurance (attached Explanatory
     Memorandum at 6).


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     12(c), matters outside of the pleadings are presented to and not excluded by

     the court, the motion must be treated as one for summary judgment under

     Rule 56. All parties must be given a reasonable opportunity to present all

     the material that is pertinent to the motion.”). However, should the Court

     decide to consider it and effectively convert this into a motion for summary

     judgment, Plaintiffs must be given an opportunity to conduct discovery on

     this issue.

                        b.    Plaintiff Pascack Has Stated a Viable Claim

            Defendants seek dismissal of Plaintiff Pascack’s claim on the ground

     that ProAssurance Casualty applied the correct rate when it charged Pascack

     its 2004 rates because, according to Defendants, Plaintiffs claim that they

     should have been charged the rate in effect on the effective date of the ERP

     endorsement and Plaintiffs admit that the effective date was June 30, 2004.

     Def. Br. at 15. However, Defendants have misstated the basis for Plaintiff

     Pascack’s claim. Pascack alleged that the rate was to “be computed in

     accordance with the rules, rates, rating plan and premiums applicable on the

     effective date of the endorsement,” Complaint ¶ 40. The rules and rates in

     effect on June 30, 2004, made clear that the 2004 rates did not apply to

     Pascack’s policy and related ERP because Pascack’s policy originated in




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     2003 – not 2004. 12 Accordingly, under the rules and filings, the applicable

     rate for the ERP endorsement must be calculated based on the rate in effect

     for the underlying policy, not on a rate for new business.

              Defendants’ argument for dismissal of Pascack fundamentally

     misses the core of Pascack’s claim and should be rejected. To the extent

     there are factual disputes or interpretation of ambiguous contract provisions,

     discovery must be allowed before a dispositive motion can be considered

                           c.      Plaintiff Mercer Bucks              Orthopedics’
                                   Claims are Timely

                                   i.     The Statute of Limitations Did Not
                                          Begin to Run on October 30, 2003

          Defendants argue that when Plaintiff Mercer Bucks received a “Notice

     of Right to Purchase the Extended Reporting Period Endorsement (Tail

     Coverage)” on October 30, 2003, it knew of the injury and the statute of

     limitations began to run.          Thus, they argue that the six-year statute of

     limitations expired approximately one month before Mercer Bucks filed its

     complaint on December 9, 2009. Def. Br. at 13-14. However, when Mercer

     Bucks knew or should have known that it was being overcharged is a factual

     inquiry that cannot be decided at this stage of the litigation.

     12
        Defendants’ rates and rules filing, effective January 1, 2004, stated that it applied to
     (1) new businesses incepting on or after January 1, 2004; (2) renewal businesses
     renewing on or after January 1, 2004; and (3) extended reporting period endorsements to
     policies incepting or renewing on or after January 1, 2004. Complaint ¶ 40.


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         Merely sending a letter notifying a client of their opportunity to

     purchase an endorsement and mentioning the charge is neither a breach of

     contact nor sufficient to put a party on inquiry notice of wrongdoing.

         The letter offer was merely advisory and no action was required or

     taken at the time Plaintiff received it. By its terms, Mercer Bucks had until

     January 30, 2004, to decide whether to purchase tail coverage, which they

     did by sending in payment on January 24, 2004, and letters signed by the

     physicians on December 30, 2003. The breach occurred when ProAssurance

     accepted a payment that violated the filed rates and contract, and failed to

     issue a refund. Mercer Bucks was not put on notice until they had reason to

     believe that they had been overcharged.


                               ii.   The Statute of Limitations Does Not
                                     Begin to Run Until a Plaintiff Knew
                                     or Should Have Known of the
                                     Injury

           Defendants concede that the statute of limitations for causes of action

     alleging fraud, breach of contract and accounting is six years from the time

     the action accrued. Def. Br. 13. See also N.J. Stat. Ann. § 2A:14-1. “A

     cause of action accrues when the plaintiff becomes ‘aware of an injury and a

     causal relationship between the injury and an actor, but need not know that

     the conduct is tortious or legally wrongful.’” Gillespie v. Janey, 2010 U.S.



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     Dist. LEXIS 20041, at *12 (D.N.J. Mar. 5, 2010) (quoting S. Cross Overseas

     Agencies, Inc. v. Wah Kwong Shipping Group, Ltd., 181 F.3d 410, 425 (3d

     Cir. 1999)). “When the gist of the action is fraud concealed from the

     plaintiff, the statute begins to run on discovery of the wrong or facts that

     reasonably should lead the plaintiff to inquire into the fraud.” S. Cross

     Overseas Agencies, 181 F.3d at 425 (citing N.J. Stat. Ann. § 2A:14-1 and

     Lopez v. Sawyer, 300 A.2d 563, 567 (1973)). While the discovery rule

     typically is not applicable to breach of contract claims, the New Jersey

     Supreme Court has acknowledged that is applicable to a breach of contract

     claim where the breach is not obvious and detectable with reasonable

     diligence. See County of Morris v. Fauver, 707 A.2d 958, 972 (N.J. 1998). 13

            The “discovery rule” is an equitable principle adopted in New Jersey

     in Fernandi v. Strully, 173 A.2d 277 (N.J. 1961), whose purpose is to avoid

     harsh results that otherwise would flow from mechanical application of a

     statute of limitations. Kemp Indus., 1994 U.S. Dist. LEXIS 21466, at *56




     13
        Defendants support this argument with a cite to only one case, County of Morris v.
     Fauver in support of their request for dismissal, Def. Br. at 13. That case involved the
     interpretation of a statute – the New Jersey Contractual Liability Act, N.J.S.A. 59:13 –
     which has a specific provision as to notice and limitations.. That statute is not applicable
     to this case and the case is clearly distinguishable and not relevant to the issue at hand.
     However, it did hold that the statute of limitations accrued at the time of payment, not the
     time a bill was submitted.



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     (quoting Vispisiano v. Ashland Chemical Co., 527 A.2d 66, 72 (N.J. 1987))

     (citations omitted).

            Under the discovery rule, a cause of action does not “accrue,” for the

     purpose of the statute of limitations “until the plaintiff learns, or reasonably

     should learn, the existence of that state of facts which may equate in law

     with a cause of action.” Kemp Indus., 1994 U.S. Dist. LEXIS 21466, at *56

     (quoting Vispisiano, 527 A.2d at 72); see also Apgar v. Lederle

     Laboratories, 123 N.J. 450, 455, 588 A.2d 380 (1991). Under the discovery

     rule, the six year statute of limitations did not begin to run until Mercer

     Bucks knew or had reason to know that it was being overcharged for its

     ERP.

            When there is a dispute about the applicability of the statute of

     limitation, “there are usually factual questions as to when a plaintiff

     discovered or should have discovered the elements of its cause of action.” S.

     Cross Overseas Agencies, 181 F.3d at 425. Moreover, “[D]efendants bear a

     heavy burden in seeking to establish as a matter of law that the challenged

     claims are barred.” Id. (quoting Van Bursirk v. Carey Canadian Mines, Ltd.,

     760 F.2d 481, 498 (3d Cir. 1985).




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                              ii.    Plaintiff Mercer Bucks Did
                                     Not Know or Have Reason To
                                     Know of the Wrongdoing in
                                     2003

           Mercer Bucks did not know or have reason to know on October 30,

     2003 that ProAssurance Casualty was overcharging for its ERP.

     ProAssurance Casualty merely sent a letter enclosing a “Notice of Non-

     renewal effective December 31, 2003” and a “Notice of Right to Purchase

     the Extended Reporting Period Endorsement (Tail Coverage)” (“ERP

     notice”) for each doctor at Mercer Bucks. Complaint ¶ 28, Ex. E. Each

     ERP notice required Mercer Bucks to submit payment “within thirty (30)

     days following termination of the coverage (or thirty (30) days from the date

     of this letter, whichever is later).” Ex. F. Each ERP notice also disclosed

     the primary limits of the ERP and the premium or cost of the ERP. Nothing

     in the letter required any action, analysis or payment before January 30,

     2004. Nor did anything in the letter notices even remotely suggest that the

     amount mentioned for each ERP endorsement was based on the 2004 rates

     for new business. The return letters signed by the physician were all dated

     December 30, 2003. Complaint ¶¶ 29, 30, Ex. F.

           Mercer Bucks’ policy with ProAssurance states:

           ProNational will compute the additional premium for the
           extending reporting period endorsement in accordance with
           ProNational’s rules in effect on the termination date. The

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            extended reporting period endorsement will be effective as of
            the termination date and will be for an unlimited time period
            thereafter….The extended reporting period endorsement is
            subject to the policy provisions.

     Ex. G, Professional Liability Policy, at 6. December 31, 2003 is the stated

     Effective Date on the ERP endorsement. Ex. H. Based on the actual policy

     language, Mercer Bucks had no reason to suspect or believe that the

     premium for the ERP would be computed based on rates that would take

     effect for new business on January 1, 2004. Additionally, although the ERP

     notice was sent to Mercer Bucks on October 30, 2003, it could not and did

     not become effective until the policy termination date, December 31, 2003.

            In short, Mercer Bucks had no reason to suspect on October 30, 2003,

     that any wrongdoing had occurred. ProAssurance does not contend that it

     informed Mercer Bucks that it was charging based on 2004 rates, not the

     rates in effect for the policy. ProAssurance does not point to anything that

     would have put Mercer Bucks on notice of the wrongdoing alleged. They

     merely sent a letter indicating pricing that would be charged when and if the

     tail was purchased and that the period to purchase extended until the end of

     January 2004. 14

     14
       Contrary to Defendants’ assertion that Mercer-Bucks “concedes that on October 30,
     2000, ProAssurance Casualty notified Mercer-Bucks that it could purchase an ERP
     endorsement at a rate that was allegedly higher than that provided for in Mercer-Bucks’
     policy,” Def. Br. at 13(citing Complaint at ¶¶ 28, 30, 32-33), nothing in those paragraphs
     concedes that point.


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            It is also important to note that the computation of the applicable rates

     is a highly complex process -- not immediately or easily determined by the

     Plaintiffs.   Rate computations are based on many factors and vary by

     Physician, see e.g. Ex. C, thus the overcharges were in no way obvious or

     detectable with reasonable diligence.

            Given the heavy burden that Defendants bear in seeking to establish

     as a matter of law that Mercer-Bucks’ claims are time-barred, it is clear on

     this record that Defendants have failed to overcome that burden and the

     motion to dismiss should be denied. If the Court intends to address the

     factual issue at this time, then it should allow discovery to proceed and grant

     Plaintiff leave to amend, should that be warranted.

     IV.    CONCLUSION

            For the foregoing reasons, the Court should deny Defendants’ motion

     to compel arbitration as well as Defendants’ motion to dismiss. Should the

     Court determine that arbitration is appropriate for some or all of the claims

     asserted, this case should be stayed pending the outcome of the arbitration.

     Dated: March 22, 2010



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                           CERTIFICATE OF SERVICE

           The undersigned hereby certifies that on March 22, 2010, a true and

     correct copy of Plaintiffs’ Opposition to Defendants’ Motion to Compel

     Arbitration or, in the Alternative Dismiss the Complaint has been duly

     served on the following counsel for Defendants, via electronically filing

     STERN & KILCULLEN, LLC
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